Case 4:24-cv-00213-P     Document 146     Filed 03/13/25     Page 1 of 1   PageID 3713



                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

      CHAMBER OF COMMERCE OF THE
      UNITED STATES OF AMERICA, ET AL.,

           Plaintiffs,

      v.                                                   No. 4:24-cv-00213-P

      CONSUMER FINANCIAL PROTECTION
      BUREAU, ET AL.,

           Defendants.
                                      ORDER
         On March 12, 2025, the Defendants filed a Status Report. ECF No.
      143. According to the Report, Defendants believe “an agreement can be
      reached in 30 days” and request that the Court stay all pending
      deadlines in this litigation. Id. at 2. Having considered the request, the
      Court concludes that it should be and hereby is GRANTED.

           Accordingly, all deadlines in this case are STAYED. If no resolution
      of the case is reached within the next 30 days, the Parties are
      ORDERED to file a joint status report.

           SO ORDERED on this 13th day of March 2025.




                                  MARK T. PITTMAN
                                  UNITED STATES DISTRICT JUDGE
